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  1   Neville L. Johnson (SBN 66329)
      Douglas L. Johnson (SBN 209216)
  2   James T. Ryan (SBN 210515)
      Jennifer Y. Ro (SBN 276111)
  3   JOHNSON & JOHNSON LLP
  4   439 North Canon Drive, Suite 200
      Beverly Hills, California 90210
  5   Telephone: (310) 975-1080
      Facsimile: (310) 975-1095
  6   Email:       njohnson@jjllplaw.com
  7                djohnson@jjllplaw.com
                   jryan@jjllplaw.com
  8                jro@jjllplaw.com
  9   Attorneys for Defendant,
      ZOOMIN.TV
 10
 11                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 12
 13   JUKIN MEDIA, INC., a California      CASE NO.:15-CV-7158-GW-FFM
      corporation,
 14
            Plaintiff,                     DEFENDANT ZOOMIN.TV’S NOTICE
 15                                        OF MOTION AND MOTION TO
 16                v.                      DISMISS COMPLAINT PURSUANT
                                           TO FED. R. CIV. P. 12(b)(2), 12(b)(5)
 17   ZOOMIN.TV, a Dutch company,          and 12(b)(6); MEMORANDUM OF
                                           POINTS AND AUTHORITIES IN
 18         Defendant.                     SUPPORT THEREOF
 19
                                           Hearing
 20                                        Date:       December 14, 2015
                                           Time:       8:30 a.m.
 21                                        Location:   Courtroom 10
 22
                                           [Notice of Motion and Motion to Dismiss
 23                                        Pursuant to Fed. R. Civ. Proc. 12(b)(2),
                                           12(b)(5) and 12(b)(6); Declarations of Jan
 24                                        Riemens, Matt Slen and Jennifer Ro filed
                                           concurrently herewith]
 25
 26
 27
 28

                         DEFENDANT’S MOTION TO DISMISS COMPLAINT
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  1
            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2
            PLEASE TAKE NOTICE that at 8:30 a.m. on December 14, 2015 in
  3
      Courtroom 10 of the above-entitled court located at 312 North Spring Street, Los
  4
      Angeles, California 90012, Defendant Zoomin.TV (“Defendant”) will and hereby
  5
      does move for an order dismissing Plaintiff Jukin Media, Inc.’s (“Plaintiff”)
  6
      Complaint for copyright infringement and unfair competition against Defendant.
  7
            This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(2) on
  8
      the ground that the Court lacks personal jurisdiction over Plaintiff. This motion is
  9
      also made pursuant to Federal Rule of Civil Procedure 12(b)(5) to quash service on
 10
      Defendant, as Plaintiff did not properly serve Defendant. This motion is also made
 11
      pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim.
 12
            This motion is made following the conference of counsel pursuant to L.R. 7-
 13
      3, which took place on November 10, 2015.
 14
            This motion shall be based on this Notice of Motion and Motion, the
 15
      accompanying Memorandum of Points and Authorities, the Court’s file, and any
 16
      other oral and/or documentary evidence considered at or before the hearing on this
 17
      motion.
 18
 19   DATED: November 16, 2015                        JOHNSON & JOHNSON LLP
 20
                                              By /s/ Neville L. Johnson
 21                                              Neville L. Johnson
 22                                              Douglas L. Johnson
                                                 James T. Ryan
 23                                              Jennifer Y. Ro
 24                                              Attorneys for Defendant,
                                                 Zoomin.TV
 25
 26
 27
 28
                                                  i
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  1
                    MEMORANDUM OF POINTS AND AUTHORITIES
  2
      I.     INTRODUCTION
  3
             Plaintiff Jukin Media, Inc. (“Plaintiff” or “Jukin”) is attempting to sue
  4
       Zoomin.TV (“Defendant” or “Zoomin.TV”), a Dutch company, over the use of
  5
       short form video content on Zoomin.TV’s website.
  6
              This Court lacks jurisdiction over Zoomin.TV because among other reasons,
  7
       it does not conduct business in the United States, does not have an office anywhere
  8
       in the United States and is not registered to do business anywhere in the United
  9
       States. Zoomin.TV has no U.S. based business operations and no U.S. employees.
 10
       Zoomin.TV also does not sell products or provide any services in the United States.
 11
       In addition, the website that Zoomin.TV operates is not an interactive website and
 12
       is not directed to anyone in the United States. Pursuant to Federal Rule of Civil
 13
       Procedure 12(b)(2), this case should be dismissed in its entirety with prejudice or
 14
       want of jurisdiction.
 15
             Zoomin.TV further moves to dismiss, pursuant to Federal Rule of Civil
 16
       Procedure 12(b)(5), on the grounds that service of process has not been properly
 17
       effected on Zoomin.TV because Jukin did not serve an officer, a managing or
 18
       general agent, or to any other agent authorized by appointment or by the law to
 19
       receive service of process. Furthermore, Jukin did not comply with the Hague
 20
       Convention, to which the Netherlands is a party, or any other standard for
 21
       international service.
 22
             Even if the Court does not dismiss Jukin’s complaint on these grounds, the
 23
       Court should dismiss Jukin’s state-law unfair competition claim because it is
 24
       preempted by U.S. Copyright law, pursuant to Federal Rule of Civil Procedure
 25
       12(b)(6).
 26
       II.   FACTUAL BACKGROUND
 27
             Zoomin.TV is a Dutch company with its principal place of business in the
 28
                                                  1
                               DEFENDANT’S MOTION TO DISMISS COMPLAINT
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  1
      Netherlands. (Decl. of Jan Riemens (“Riemens Decl. ¶ 2)). Zoomin.TV is a digital
  2
      media company that (i) produces video content, (ii) provides advertising solutions,
  3
      and (iii) exploits a Multi-Channel Network (“MCN”) on third-party platforms.
  4
      (Riemens Decl. ¶ 2). Zoomin.TV offers its video content to publishers from
  5
      around the world by partnering with companies such as Yahoo, Daily Motion and
  6
      AOL, in order to assist in areas such as product, programming, funding, cross-
  7
      promotion, partner management, digital rights management, monetization/sales, and
  8
      or audience development in exchange for a percentage of the ad revenue from its
  9
      channel. (Riemens Decl. ¶ 2). Zoomin.TV Netherlands, a subsidiary of
 10
      Zoomin.TV, produces all of its online short form video content in collaboration
 11
      with content providers from around the world. (Riemens Decl. ¶ 2). With over
 12
      100 editors in Amsterdam who guide over 1500 video reporters, Zoomin.TV
 13
      creates mostly original video content and live broadcasts. (Riemens Decl. ¶ 2).
 14
      This content is created in a variety of video and TV formats contributing to a daily
 15
      video feed of around 400 videos, in 19 different languages. (Riemens Decl. ¶ 2).
 16
      Zoomin.TV’s library of short form video content currently consists of over 400,000
 17
      videos to which 100,000 new videos are added per year. (Riemens Decl. ¶ 2).
 18
            All of Zoomin.TV’s online media productions take place in Europe, and
 19
      mostly in the Netherlands. (Riemens Decl. ¶ 3). Zoomin.TV does not engage in
 20
      business activities in the U.S. (Riemens Decl. ¶ 6). It is not registered to do
 21
      business in California, or in any other state in the U.S. (Riemens Decl. ¶ 6).
 22
      Zoomin.TV does not direct any advertising specifically toward U.S. residents.
 23
      (Riemens Decl. ¶ 7). It does not advertise in any publications that are directed
 24
      primarily toward U.S. residents. (Riemens Decl. ¶ 7). None of Zoomin.TV’s
 25
      officers or directors reside in or are domiciled in the U.S. (Riemens Decl. ¶ 8).
 26
            Zoomin.TV has no U.S.-based business operations, no U.S. employees, owns
 27
      no U.S. property, and leases no U.S. property. (Riemens Decl. ¶ 6). Zoomin.TV
 28
                                                  2
                           DEFENDANT’S MOTION TO DISMISS COMPLAINT
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  1
      also does not sell products or provide any services in California or elsewhere in the
  2
      United States. (Riemens Decl. ¶ 6).
  3
      III.   THE COURT LACKS PERSONAL JURISDICTION OVER
  4
             DEFENDANT
  5
             Dismissal under Federal Rule of Civil Procedure 12(b)(2) is proper where the
  6
      court lacks personal jurisdiction over a nonresident defendant. Because
  7
      California’s “long arm” statute (Cal. Civ. Proc. Code § 410.10) “is coextensive with
  8
      federal due process requirements, the jurisdictional analysis under state law and
  9
      federal due process are the same.” Schwarzenegger v. Fred Martin Motor Co., 374
 10
      F.3d 797, 800 (9th Cir. 2004). A court may exercise jurisdiction only over a
 11
      defendant who has “minimum contacts” with the forum state, such that the suit
 12
      “does not offend traditional notions of fair play and substantial justice.” Asahi
 13
      Metla Indus. Co. v. Super. Ct., 480 U.S. 102, 109 (1987).
 14
             “It is the plaintiff’s burden to establish the court’s personal jurisdiction over a
 15
      defendant.” Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001). To meet this
 16
      burden, the plaintiff must make a prima facie showing that either (a) the defendant
 17
      has “substantial, continuous and systematic” contacts with the forum sufficient to
 18
      give rise to the cause of action before the court “as to subject the defendant to
 19
      specific personal jurisdiction.” Scott v. Breeland, 792 F.2d 925, 927 (9th Cir.
 20
      1986).
 21
             With respect to personal jurisdiction, Jukin alleges that “Zoomin is doing
 22
      business in the state of California, and the acts of infringement complained of in
 23
      this Complaint took place in the state of California, were intended to cause harm
 24
      within the state of California, and did cause harm within the state of California.”
 25
      Compl. ¶ 9.
 26
             A.     Defendant Is Not Subject to General Jurisdiction
 27
             General jurisdiction exists only where the defendant’s contacts with
 28
                                                   3
                            DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       California are “substantial . . . continuous and systematic.” Perkins v. Benguet
   2
       Consolidated Mining Co., 342 U.S. 437, 446 (1952). “The level of contact with the
   3
       forum state necessary to establish general jurisdiction is quite high.” Shute v.
   4
       Carnival Cruise Lines, 897 F.2d 377, 380 (9th Cir. 1990), rev’d on other grounds,
   5
       499 U.S. 585 (1991); see also Helicopteros Nacionales de Colombia, S.A. v. Hall,
   6
       466 U.S. 408, 418 (1984); Omeluk v. Langsten Slip & Batbyggeri A/S, 52 F.3d 267,
   7
       270 (9th Cir. 1995) (foreign corporations’ lack of a place of business in the forum
   8
       “is significant, and is not overcome by a few visits”). Factors to consider in
   9
       determining whether contacts with the forum are substantial, continuous and
  10
       systematic include the place of business, license to conduct business, maintenance
  11
       of an office, presence of employees, use of bank accounts, and marketing or selling
  12
       of products in the forum state. See Helicopteros Nacionales, 466 U.S. at 415-418;
  13
       Shute, 897 F.2d at 381.
  14
             Zoomin.TV is a foreign and nonresident entity that does not have
  15
       “substantial, continuous and systematic” contacts with California and the United
  16
       States. Zoomin.TV is a Dutch company with its principal place of business in the
  17
       Netherlands. (Riemens Decl. ¶ 2). Zoomin.TV is not registered or licensed to do
  18
       business, and does not do business, in California or in the United States. (Riemens
  19
       Decl. ¶ 6). Zoomin.TV does not solicit business in California, and does not market
  20
       or advertise services to residents of California. (Riemens Decl. ¶ 7). Zoomin.TV
  21
       does not lease or own any real property anywhere in the United States. (Riemens
  22
       Decl. ¶ 6). Zoomin.TV does not have any employees in the United States.
  23
       (Riemens Decl. ¶ 6).
  24
             Zoomin.TV’s contacts with the United States are limited to supporting its
  25
       MCN services which consist of making partnership deals with European
  26
       subsidiaries and affiliates of U.S. based companies, such as AOL, YouTube and
  27
       Yahoo. (Riemens Decl. ¶¶ 14, 17). Zoomin.TV offers these companies the use of
  28
                                                   4
                              DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       short form videos from its web gallery. (Riemens Decl. ¶¶ 14, 17). All contracts
   2
       with any of these European affiliates and contacts are European contracts, subject to
   3
       the laws of the European countries that these companies target. (Riemens Decl. ¶¶
   4
       14, 17). Zoomin.TV has no control over these companies’ uses of the videos
   5
       obtained from Zoomin.TV subject to the European partnership deals. (Riemens
   6
       Decl. ¶¶ 14, 17). Zoomin.TV’s partnerships with any U.S. based company is not
   7
       for the purpose of targeting any market or user in the U.S. (Riemens Decl. ¶¶ 14,
   8
       17). Zoomin.TV does not “post” or publish videos on any website other than its
   9
       own Zoomin.TV website based in the Netherlands, located at (http://zoomin.tv/),
  10
       which is not an active consumer website. (Riemens Decl. ¶ 9). Zoomin.TV’s
  11
       website is not direct to any California residents or U.S. residents in general. It is
  12
       directed to European residents. (Riemens Decl. ¶ 4).
  13
              B.     Defendant is Not Subject to Specific Jurisdiction
  14
              In analyzing whether specific jurisdiction exists over a nonresident
  15
       defendant, the Ninth Circuit applies a three part test:
  16                (1) The nonresident defendant must do some act or
  17                consummate some transaction within the forum or
                    perform some act by which it purposefully avails itself of
  18                the privilege of conducting activities in the forum,
  19                thereby invoking the benefits and protections of its laws.
                    (2) The claim must be one which arises out of or
  20                results from the defendant’s forum-related activities.
  21                (3) Exercise of jurisdiction must be reasonable.
  22   Doe, 248 F.3d at 923; Schwarzenegger, 374 F.3d at 802. The plaintiff bears the

  23   burden of satisfying the first two prongs of this test. Id. If the plaintiff satisfies this

  24   burden, the burden shifts to the defendant to make a “compelling case” that the

  25   third prong—the exercise of jurisdiction is reasonable—is not met. Burger King

  26   Corp., 471 U.S. 462, 476–78 (1985). “If any of the three requirements is not

  27   satisfied, jurisdiction in the forum would deprive the defendant of due process of

  28   law.” Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1155 (9th Cir.2006) (internal
                                                     5
                             DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       citations and quotations omitted). In addition, “[g]reat care and reserve should be
   2
       exercised when extending our notions of personal jurisdiction into the international
   3
       field.” Core–Vent Corp. v. Nobel Indus. AB, 11 F.3d 1482, 1489 (9th Cir.1993)
   4
       (internal citations and quotation marks omitted). “Litigation against an alien
   5
       defendant creates a higher jurisdictional barrier than litigation against a citizen from
   6
       a sister state because important sovereignty concerns exist.” Id. (internal citations
   7
       and quotations omitted).
   8
                    1.     Plaintiff Cannot Make its Showing under the First Prong
   9
             The Ninth Circuit has set forth a detailed test for analyzing the first prong of
  10
       the specific jurisdiction standard that it has termed the “effects” test. This test,
  11
       which is based on the Supreme Court’s decision in Calder v. Jones, 465 U.S. 783
  12
       (1984) is applied in copyright cases. See, e.g., Schwarzenegger, 374 F.3d at 802.
  13
       To meet this test, a plaintiff must prove that the defendant “(1) committed an
  14
       intentional act, (2) expressly aimed at the forum state, (3) causing harm that the
  15
       defendant knows is likely to be suffered in the forum state.” Brayton Purcell LLP
  16
       v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010) (quoting Yahoo! Inc.
  17
       v. La Ligue Contra Le Racisme Et L’Antisemitisme, 433 F.3d 1199 (9th Cir. 2006).
  18
       Jukin cannot meet these elements here.
  19
             First, it cannot show that any of the actions cited in the complaint as
  20
       infringement were the intentional acts of Zoomin.TV. Zoomin.TV requests and
  21
       acquires permission from original owners of user-generated short form videos that
  22
       Zoomin.TV publishes on its own website. (Riemens Decl. ¶ 10). Zoomin.TV takes
  23
       down and removes video content that is not permitted by the original content
  24
       owners. (Riemens Decl. ¶ 10). Three of the thirty-four alleged infringing videos
  25
       were never produced and/or published on Zoomin.TV’s website and were never in
  26
       Zoomin.TV’s possession. (Riemens Decl. ¶ 11). At the time that Zoomin.TV
  27
       published any of the other thirty-one alleged infringing videos on its website,
  28
                                                    6
                             DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       Zoomin.TV had no way of knowing and did not know that Jukin Media, Inc.
   2
       purportedly submitted U.S. copyright registrations for the alleged infringing video
   3
       content on or around the same date. (Riemens Decl. ¶ 12). Until Zoomin.TV
   4
       discovered it was a party to the instant lawsuit, Zoomin.TV has never received
   5
       notice of an alleged infringement, or even a takedown notice for any of the alleged
   6
       infringing videos of which Jukin Media, Inc. claims it has rights. (Riemens Decl. ¶
   7
       10). All but five of the alleged infringing videos are in foreign languages.
   8
       (Riemens Decl. ¶ 13). The five alleged infringing videos that are for English
   9
       speakers were targeted for English speaking countries in Europe. (Riemens Decl. ¶
  10
       13). Zoomin.TV has never used its videos to target anyone in the United States.
  11
       (Riemens Decl. ¶ 13). The alleged infringing videos were directed to a European
  12
       audience. (Riemens Decl. ¶ 13).
  13
             Second, Jukin cannot demonstrate that any of Zoomin.TV’s activities were
  14
       expressly aimed at California. The Ninth Circuit has “struggled with the question
  15
       of whether tortious conduct on a nationally accessible website is expressly aimed at
  16
       any, or all, of the forums in which the website can be viewed.” Mavrix Photo, Inc.
  17
       v. Brand Tech., Inc., 647 F.3d 1218, 1229 (9th Cir. 2012). One rule, however, is
  18
       clear: “A defendant has not purposefully availed himself of the privilege of
  19
       conducting activities in a forum state merely because he operates a website which
  20
       can be accessed there.” American Auto. Ass'n, Inc. v. Darba Enter., Inc., 2009 WL
  21
       1066506 *4 (N.D.Cal. April 21, 2009); see also Mavrix Photo, Inc., 647 F.3d at
  22
       1229 (stating that “maintenance of a passive website alone cannot satisfy the
  23
       express aiming prong”). On the other hand, “operating even a passive website in
  24
       conjunction with something more'—conduct directly targeting the forum—is
  25
       sufficient.” Id. (internal citations omitted). “In determining whether a nonresident
  26
       defendant has done something more,' [the Ninth Circuit has] considered several
  27
       factors, including the interactivity of the defendant's website, the geographic scope
  28
                                                   7
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   1
       of the defendant's commercial ambitions, and whether the defendant ‘individually
   2
       targeted’ a plaintiff known to be a forum resident.” Id. (internal citations omitted).
   3
             Here, Zoomin.TV does not “post” or publish videos on any website other
   4
       than its own Zoomin.TV website based in the Netherlands, located at
   5
       (http://zoomin.tv/), which is not an active consumer website. (Riemens Decl. ¶ 9).
   6
       Zoomin.TV’s website is not direct to any California residents or U.S. residents in
   7
       general. It is directed to European residents. (Riemens Decl. ¶ 4). Despite the fact
   8
       that Zoomin.TV’s website can be accessed by users all over the world, Jukin cannot
   9
       meet its burden of proving that it is anything more than a passive website because it
  10
       is not interactive and does not target the forum state. See be2 LLC v. Ivanov, 642
  11
       F.3d 555, 559 (7th Cir. 2011) (“If the defendant merely operates a website, even a
  12
       highly interactive website, that is accessible from, but does not target, the forum
  13
       state, then the defendant may not be haled into court in that state without offending
  14
       the Constitution.”).
  15
             Zoomin.TV does not sell any products or provide services in California.
  16
       (Riemens Decl. ¶¶ 6, 14). Zoomin.TV’s contacts with the United States are limited
  17
       to supporting its MCN services which consist of making partnership deals with
  18
       European subsidiaries and affiliates of U.S. based companies, such as AOL,
  19
       YouTube and Yahoo. (Riemens Decl. ¶¶14, 17). Zoomin.TV offers these
  20
       companies the use of short form videos from its web gallery. (Riemens Decl. ¶¶14,
  21
       17). All contracts with any of these European affiliates and contacts are European
  22
       contracts, subject to the laws of the European countries that these companies target.
  23
       (Riemens Decl. ¶¶14, 17). Zoomin.TV has no control over these companies’ uses
  24
       of the videos obtained from Zoomin.TV subject to the European partnership deals.
  25
       (Riemens Decl. ¶¶14, 17).
  26
             Third, none of the alleged harm in Jukin’s complaint is the result of any act
  27
       of Zoomin.TV. Zoomin.TV published alleged videos prior to the time that Jukin
  28
                                                   8
                              DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       first submitted U.S. copyright registrations for the same videos. (Riemens Decl. ¶
   2
       12). None of Zoomin.TV’s videos were directed to a U.S. audience as evidenced
   3
       by the fact that twenty-nine of the thirty-four alleged infringing videos were never
   4
       released by Zoomin.TV to third party company publishers with a U.S. corporate
   5
       presence and most were in a foreign language. (Riemens Decl. ¶ 13). Five of the
   6
       alleged videos that contain usage of the English language were meant for English
   7
       speaking European countries. (Riemens Decl. ¶ 13). It is unclear how
   8
       Zoomin.TV’s website, operating abroad, directed at users abroad, could be said to
   9
       be causing any “harm” in California. Because mere injury to a forum resident alone
  10
       is not a sufficient connection to the forum, and Jukin cannot demonstrate that
  11
       Zoomin.TV’s website or any other contacts with California or U.S. residents was
  12
       expressly aimed for purposes of personal jurisdiction, Plaintiff will fail to meet the
  13
       sufficiency of this requirement. Walden v. Fiore, 134 S. Ct. 1115, 1125 (2014)
  14
       (“[M]ere injury to a forum resident is not a sufficient connection to the forum;
  15
       courts analyzing personal jurisdiction must engage in a “forum-focused” inquiry.”)
  16
       While the location of U.S. based companies, like AOL or YouTube may be relevant
  17
       for lawsuits directly involving the companies, that the headquarters of company is
  18
       located in California, does not establish that Defendant expressly aimed infringing
  19
       activities at the California market. See DFSB Kollective Co. v. Bourne, 897 F.
  20
       Supp. 2d 871, 883 (N.D. Cal. 2012).
  21
             Jukin has failed to establish any element of the “effects” test. As a result,
  22
       Jukin cannot establish that this Court has specific personal jurisdiction over
  23
       Zoomin.TV.
  24
                    2.     Plaintiff Cannot Make its Showing Under the Second Prong
  25
              The Ninth Circuit has adopted a “but for” test to guide analysis under the
  26
       second prong of the test for specific personal jurisdiction. See, e.g., Ballard v.
  27
       Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). This test requires a court to ask “but
  28
                                                   9
                            DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       for [defendant’s] contacts with the United States and California, would [plaintiff’s]
   2
       claims against the [defendant] have arisen?” Id.
   3
             Here, Zoomin.TV’s contacts with the United States are limited to supporting
   4
       its MCN services which consist of making partnership deals with European
   5
       subsidiaries and European affiliates of U.S. based companies, such as AOL,
   6
       YouTube and Yahoo. (Riemens Decl. ¶¶14, 17). Zoomin.TV offers these
   7
       companies the use of short form videos from its web gallery. (Riemens Decl. ¶¶14,
   8
       17). All contracts with any of these European affiliates and contacts are European
   9
       contracts, subject to the laws of the European countries that these companies target.
  10
       Zoomin.TV has no control over these companies’ uses of the videos obtained from
  11
       Zoomin.TV subject to the European partnership deals. (Riemens Decl. ¶¶14, 17).
  12
       Zoomin.TV’s partnerships with any U.S. based company is not for the purpose of
  13
       targeting any market or user in the U.S. (Riemens Decl. ¶¶14, 17). Even if
  14
       Zoomin.TV had not made such contacts, the claims in the complaint would remain
  15
       the same—Jukin would still register for U.S. copyrights to short form video content
  16
       that Zoomin.TV would have already sought permission for use and published on its
  17
       website.
  18
             C.     The Exercise of this Court’s Jurisdiction over Defendant Would
  19
       Not Be Reasonable
  20
             Both general personal jurisdiction and specific personal jurisdiction require
  21
       that the assertion of a court’s authority over the defendant be reasonable. See, e.g.
  22
       Burger King, 471 U.S. at 474 (for general personal jurisdiction, “defendant’s
  23
       conduct and connection with the forum State are such that he should reasonably
  24
       anticipate being haled into court there.”) (citing World-Wide Volkswagen Corp. v.
  25
       Woodsen, 444 U.S. 286, 295(1980)); Schwarzenegger, 374 F.3d 802 (for specific
  26
       personal jurisdiction, “the exercise of jurisdiction must comport with fair play and
  27
       substantial justice, i.e., it must be reasonable.”)
  28
                                                    10
                             DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
             In evaluating reasonableness, courts must consider seven factors:
   2
                    (1) the extent of the defendants' purposeful interjection
   3                into the forum state's affairs; (2) the burden on the
                    defendants of defending in the forum; (3) the extent of
   4                conflict with the sovereignty of the defendants' state; (4)
                    the forum state's interest in adjudicating the dispute; (5)
   5                the most efficient judicial resolution of the controversy;
                    (6) the importance of the forum to the plaintiffs' interest
   6                in convenient and effective relief; and (7) the existence of
                    an alternative forum.
   7
       Fiore v. Walden, 688 F.3d 558, 582–83 (9th Cir. 2012). A court should weigh all
   8
       seven factors, as no single factor is dispositive.
   9
             Although all of the factors weigh against the exercise of personal jurisdiction,
  10
       or at best for Jukin, are neutral, the first three factors weigh particularly heavily
  11
       against the exercise of personal jurisdiction over Zoomin.TV. As demonstrated
  12
       previously, Zoomin.TV has not purposefully injected itself into California
  13
       specifically or the United States in general. (Riemens Decl. ¶¶ 2-17). Moreover,
  14
       litigating this action in the United States would pose a great burden to Zoomin.TV,
  15
       as the majority, if not all of the individuals who have information or knowledge
  16
       related to the allegations of the complaint reside in the Netherlands and who either
  17
       do not speak English or do not speak English as a first language. (Riemens Decl. ¶
  18
       17). Additionally, as a Dutch company subject to Dutch law, should this Court
  19
       enter injunctive relief, Zoomin.TV may find itself facing an impossible choice of
  20
       complying with its obligations under Dutch law, or complying with an inconsistent
  21
       United States-issued injunction. (Riemens Decl. ¶ 17).
  22
             Other factors also weigh against the reasonableness of litigation in this
  23
       forum. For instance, under the seventh factor, there is an alternative forum for
  24
       Jukin: Dutch courts. The Netherlands have long provided international protections
  25
       for copyrights—for example, the Netherlands has been a signatory to the Berne
  26
       Convention for the Protection of Literary and Artistic Works since October 9, 1912.
  27
       See Ro Decl. ¶¶ 5,6 , Ex. B & C (“WIPO-Administered Treaties: Contracting
  28
                                                    11
                             DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
       Parties > Berne Convention” & “Berne Notification No. 60: Berne Convention for
   2
       the Protection of Literary and Artistic Words—Ratification by the Kingdom of the
   3
       Netherlands of the Paris Act (1971) (with the exception of Articles 1 to 21 and the
   4
       Appendix)”). Similarly, the Netherlands is a member of the World Trade
   5
       Organization and provides intellectual property protection, including copyright
   6
       protection, pursuant to that organization’s TRIP Agreement. Ro Decl. ¶ 7. The
   7
       availability of Dutch courts as an alternative forum is further enhanced by the ease
   8
       of enforcement of any judgment against Zoomin.TV—as a Dutch company with its
   9
       principal place of business in the Hague, Zoomin.TV is subject to Dutch law, and
  10
       Dutch judgments are easy to enforce against it. However, there is no treaty
  11
       between the Netherlands and the United States that would provide for the
  12
       enforcements of a judgment of this Court by a Dutch court.
  13
             It is unreasonable to allow Jukin to force a foreign company that has never
  14
       done business in California and who has minimal business contacts with the United
  15
       States as a whole, to defend this case in this forum. The Court should recognize
  16
       this fact and decline to exercise personal jurisdiction over Zoomin.TV.
  17
       IV.   DEFENDANT HAS NOT BEEN SERVED
  18
             Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant to move to
  19
       dismiss the complaint for insufficient service of process. Fed.R.Civ.P. 12(b)(5).
  20
       Once a party challenges service, the plaintiff bears the burden to show that service
  21
       was valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir.2004).
  22
             Federal Rule of Civil Procedure 4 provides three ways to effectuate service
  23
       on a foreign corporation, partnership or other unincorporated association.
  24
       Fed.R.Civ.P. 4. Service can be effective pursuant to “(1) the law of the state where
  25
       the district court is located or of the state where service is effected, see Fed.R.Civ.P.
  26
       4(e)(1); (2) by delivering a copy of the summons and complaint in a judicial district
  27
       of the United States to ‘an officer, a managing or general agent, or to any other
  28
                                                   12
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   1
       agent authorized by appointment or by the law to receive service of process[.]’
   2
       Fed.R.Civ.P. 4(h)(1); or (3) an internationally agreed method for effective service
   3
       such as the Hague Convention. See id. at 4(f)(1).” SVC–Napa, L.P. v. Strategy
   4
       Resort Fin ., Inc., 2006 WL 2374718, *1 (N.D.Cal. Aug.16, 2006).
   5
             Jukin did not serve Zoomin.TV, a Dutch corporation that is not registered to
   6
       do business in California. Jukin did not serve a general manager of Zoomin.TV so
   7
       authorized to receive service of process. Jukin left a copy of summons and
   8
       complaint with a general receptionist of a general office building in Los Angeles,
   9
       California, where a free lance consultant working with Zoomin.TV leases office
  10
       space. (Decl. of Matt Slan (“Slan Decl.”) ¶ 5.) The consultant’s services were
  11
       procured on a performance basis pursuant to a nine month contract with
  12
       Zoomin.TV for the limited and specific role of researching and advising
  13
       Zoomin.TV on the analytics of potential market opportunities and applicability of
  14
       Zoomin.TV’s MCN services in North America. (Slan Decl. ¶ 3). The receptionist,
  15
       shared among other tenants also located in the building called the freelance
  16
       consultant to inform him that there was a bundle of papers for Zoomin.TV at the
  17
       reception desk. (Slan Decl. ¶ 5). The consultant discovered that the contents of
  18
       the papers were a summons and complaint relating to Zoomin.TV. (Slan Decl. ¶ 5).
  19
       The consultant notified Zoomin.TV by emailing a copy of the papers and mailing
  20
       the papers to Zoomin.TV in the Netherlands. (Slan Decl. ¶ 6).
  21
             Additionally, Jukin did not comply with the Hague Convention, to which the
  22
       Netherlands is a party, or any other standard for international service. Because
  23
       service was not properly effected, it should be quashed.
  24
       V.    PLAINTIFF’S UNFAIR COMPETITION CLAIM MUST BE
  25
       DISMISSED
  26
             Jukin’s state law unfair competition claim must be dismissed because it is
  27
       preempted by U.S. copyright law.
  28
                                                 13
                            DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
             The Copyright Act protects the right to reproduce, distribute, and display
   2
       copyrighted materials, as well as the right to prepare derivative works based on the
   3
       copyrighted material. 17 U.S.C. § 106. The Act preempts state law with regard to
   4
       “all legal or equitable rights that are equivalent to any of the exclusive rights within
   5
       the general scope of copyright as specified by section 106....” 17 U.S.C. § 301(a).
   6
       State law claims are preempted when (1) the work at issue comes within the subject
   7
       matter of copyright, and (2) the state law rights are equivalent to the exclusive
   8
       rights of copyright. Grosso v. Miramax Film Corp., 383 F.3d 965, 968 (9th
   9
       Cir.2004). To survive preemption, the state law claim must include an “extra
  10
       element” that makes the right asserted qualitatively different from those protected
  11
       by the copyright act. Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079, 1089 (9th
  12
       Cir.2005) (citing Summit Mach. Tool Mfg. v. Victor CNC Sys., 7 F.3d 1434, 1439–
  13
       40 (9th Cir.1993)).
  14
             Unfair competition law in California prohibits any “unlawful, unfair or
  15
       fraudulent business practice.” Barquis v. Merchants Collection Assn., 7 Cal.3d 94,
  16
       101 Cal.Rptr. 745, 496 P.2d 817 (1972); see 11 Witkin, § 95 at 774–81 (1990).
  17
             A. Plaintiff’s state law rights are equivalent to the exclusive rights of
  18
                 copyright
  19
             Because Jukin’s unfair competition claim is based solely on rights equivalent
  20
       to those protected by federal copyright laws, the first prong of the preemption test is
  21
       met. Jukin’s complaint expressly bases its unfair competition claim on rights
  22
       granted by the Copyright Act. Jukin’s unfair competition claim incorporates by
  23
       reference paragraphs from the copyright infringement claim. Compl. ¶ 139.
  24
       Jukin’s complaint alleges that Zoomin.TV “has engaged in unfair competition by
  25
       intentionally tracking Jukin’s video posting behaviors and copying its videos
  26
       shortly after they are published, at the time when they are most likely to be
  27
       monetized, and with the same or similar target audience as Jukin with the intent to
  28
                                                   14
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   1
       directly affect Jukin’s business and siphon viewers to Defendant’s digital
   2
       properties.” Compl. ¶ 141. The only other paragraph of consequence under Jukin’s
   3
       unfair competition claim alleges that “Defendant has engaged in unfair competition
   4
       by utilizing unfair, deceptive, and fraudulent business practices in its direction of or
   5
       acquiescence to routinely posting infringing content on the Internet and potentially
   6
       other means of Defendant’s digital distribution.” Compl. ¶ 140.
   7
             B. The Subject Work Falls Within the Subject Matter of the Copyright
   8
                 Act
   9
             Jukin seeks to protect video postings on its website. These alleged video
  10
       postings are “audiovisual works” that can be copyrighted. 17 U.S.C. § 102(a)(5).
  11
       Thus, the subject works that Jukin seeks to protect are clearly works that fall within
  12
       the “subject matter” of the Copyright Act.
  13
             Jukin fails to clearly allege how its state law unfair competition claim is
  14
       “qualitatively different from [its] copyright . . . claim,” as required for the unfair
  15
       competition claim to survive a copyright infringement challenge. See Summit
  16
       Mach. Tools Mfg. v. Victor CNC Sys., Inc., 7 F.3d 1434, 1429 (9th Cir. 1993).
  17
       Because Plaintiff fails to demonstrate both prongs of the preemption, Plaintiff’s
  18
       state law claim for unfair competition is preempted. See 1 Nimmer, § 1.01[B][1][e]
  19
       at 1–24, n. 110 (stating that if B is selling B's products and representing to the
  20
       public that they are B's products, a claim by A that B's products replicate A's is a
  21
       disguised copyright infringement claim and is preempted); see also Xerox Corp. v.
  22
       Apple Computer, Inc., 734 F.Supp. 1542, 1550–51 (N.D.Cal.1990).
  23
       ///
  24
       ///
  25
       ///
  26
       ///
  27
       ///
  28
                                                    15
                             DEFENDANT’S MOTION TO DISMISS COMPLAINT
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   1
             Because Jukin expressly relies on its copyright infringement allegations as
   2
       the foundation to support its state-law claim, Jukin’s unfair competition claim must
   3
       be dismissed with prejudice.
   4
       VI.   CONCLUSION
   5
             For the foregoing reasons, Zoomin.TV respectfully requests that this Court
   6
       dismiss Jukin’s suit in its entirety and with prejudice and quash service.
   7
   8   DATED: November 16, 2015                        JOHNSON & JOHNSON LLP
   9
                                               By /s/ Neville L. Johnson
  10                                              Neville L. Johnson
  11                                              Douglas L. Johnson
                                                  James T. Ryan
  12                                              Jennifer Y. Ro
  13                                              Attorneys for Defendant,
                                                  Zoomin.TV
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